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                                   ORIGINAL                                         FILED
                      IN THE UNITED STATES DISTRICT COURT                   U.S. DISTRICT COURT
                                                                                 AUGUSTA DiV.
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                            2011 MAY lb P122'
                                     DUBLIN DIVISION


 DONALD MCCRIMMON,

                Petitioner,

        V.                                        CV 311-035
                                                  (Formerly CR 308-001)
 UNITED STATES OF AMERICA and
 REBECCA TAMEZ, Warden,

                Respondents.



          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


        Petitioner, an inmate confined to federal custody at the Federal Correctional

 Institution in Fort Worth, Texas, has filed with this Court a motion under 28 U.S.C. § 2255

 to vacate, set aside, or correct his sentence (doe. no. 1), as well as a "Motion for

 Withdrawal of Guilty Plea' in which Petitioner ostensibly seeks relief pursuant to 28 U.S.C.

 § 2241 (doe. no. 2 ) . '     For the reasons set forth below, the Court REPORTS and

 RECOMMENDS that Petitioner's "Motion for. . . Withdrawal of Guilty Plea" and his §

 2255 motion be DISMISSED and that this civil action be CLOSED.

 I. BACKGROUND

        Pursuant to a guilty plea, Petitioner was convicted of conspiracy to possess with




        'Although titled as a motion, Petitioner also wrote "Habeas Corpus 28 U.S.C.
 2241 (c)(2)" on the first page of the document. (Doe. no. 2, p. 1.)
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 intent to distribute a quantity of cocaine base, a quantity of cocaine hydrochloride, a quantity

 of marijuana, and a quantity of 3, 4-methylenedioxymethamphetamine, in violation of 21

 U.S.C. § 846. United States v. Armstrong et al., CR 308-001, doe. no. 546 (S.D. Ga. Feb.

 19,2009) (hereinafter CR 308-001). A judgment of conviction was entered on February 19,

 2009. Id. The Honorable Dudley H. Bowen, Jr., United States District Judge, sentenced

 Petitioner to 84 months of imprisonment followed by five years of supervised release. Id.

 In keeping with his plea agreement in that case, Petitioner has filed no direct appeal. See CR

 308-001, doe. no. 459, p. 8. However, he did file a petition pursuant to 28 U.S.C. § 2241

 with the United States District Court for the District of South Carolina, which was dismissed

 without prejudice on December 10, 2009. McCrimmon v. Mitchell, CV 409-2456, doe. no.

 15, adopted by, doe. no. 18 (D.S.C. Dec. 10, 2009) (hereinafter CV 409-2456). Petitioner

 then submitted the instant § 2255 motion, as well his "Motion for.. . Withdrawal of Guilty

 Plea," both of which were executed and delivered to prison officials on April 14, 2011, and

 filed by the Clerk of Court on April 19. 2011.2 (Doe. no. 1, p. 8; doe. no. 2, p. 4.)

         In his "Motion for.. . Withdrawal of Guilty Plea," Petitioner argues that his guilty

 plea should be withdrawn due to alleged ineffective assistance of trial counsel and because

 he claims that he did not voluntarily and knowingly plead guilty. (Doe. no. 2, p. 1.) More

 specifically, Petitioner argues that the court improperly used two of his prior convictions to

 enhance his sentence, and because of that, his attorney should not have allowed him to plead


         'Under Houston v. Lack, 487 U.S. 266, 276 (1988), Petitioner's motion is deemed
 filed on the date of delivery to prison officials for mailing. See also Adams v. United States,
 173 F.3d 1339, 1341 (llthCir. 1999) per curiarn) ( 2255 motion deemed filed on date the
 petitioner "signed, executed, and delivered his petition to prison authorities for mailing".
 Therefore, the date that Petitioner's motion was considered filed is April 14, 2011.

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 guilty. Qd. at 2-3.) Petitioner also claims that he would not have plead guilty had he known

 the court was going to use those convictions to enhance his sentence. ()

         In his § 2255 motion. Petitioner enumerates four grounds for relief however, an

 examination of those grounds reveals only two actual bases for relief, which are merely

 repackaged and presented as four separate grounds. (Lee doe. no. 1, pp. 3-5.) In Grounds

 One and Four. Petitioner asserts that his trial counsel was ineffective because he allowed

 Petitioner to plead guilty despite knowing that the court was using two "illegal case[s]" to

 coerce Petitioner into pleading guilty. (ld. at 4-5.) In Grounds Two and Three, Petitioner

 argues that he did not voluntarily not knowingly plead guilty as a result of the court's use of

 the illegal case[s].' (Ld. at 5.) Those "illegal case[s]" are the prior convictions that

 Petitioner refers to in his "Motion for. .. Withdrawal of Guilty Plea." (See id. at 5; doe. no.

 2. p. 2 (listing 96-R-191 and 96-R-190 as the "illegal case[s]," and "the evidence that

 cause [d] this illegal sentence. . . enhancement," respectively).) Thus, Petitioner argues that

 his guilty plea should be withdrawn. (Doe. no. 1, pp. 5-6.)

 II.     DISCUSSION

 A.      Petitioner's "Motion for.. . Withdrawal of Guilty Plea"

         As set forth above, the grounds enumerated in Petitioner's § 2255 motion are

 identical to the arguments Petitioner makes in his "Motion for. . . Withdrawal of Guilty

 Plea." (Compare doe. no. 1, pp. 3-5, with doe. no. 2, pp. 1-3.) Thus, Petitioner is attacking

 the validity of his sentence rather than its execution in both motions. As Petitioner was

 previously informed by the Honorable Terry L. Wooten, United States District Judge, when

 Petitioner filed a § 2241 petition in the District of South Carolina, in order to seek such relief


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 pursuant to § 2241, Petitioner must first satisfy the requirements of the savings clause of §

 2255, CV 409-2456, doe. no. 15, adopted by, doe. no. 18. "Typically, collateral attacks on

 the validity of a federal sentence must be brought under § 2255." Darby v. Hawk-Sawyer,

 405 F.3d 942, 944-45 (11th Cir. 2005) (per curiam).3

         As discussed in detail, infra, § 2255 motions are subject to a one-year statute of

 limitations. 28 U.S.C. § 2255(f). Here, Petitioner has attempted to avoid this requirement

 by seeking relief pursuant to § 2241, styled as a Motion for.. . Withdrawal of Guilty Plea."

 However, a federal prisoner may only resort to § 2241 for the type of relief sought here upon

 a showing that "the remedy by 2255] motion is inadequate or ineffective to test the legality

 of his detention." Id. § 2255(e). Under Eleventh Circuit law, the circumstances under which

 a federal prisoner may invoke the so-called "savings clause" of § 2255 are tightly

 circumscribed.'



          31t is worth noting that habeas corpus actions brought pursuant to 28 U.S.C. § 2241
 are appropriately filed in the district where the petitioner is incarcerated. See Rumsfeld v.
 Padilla, 542 U.S. 426,447(2004) ("Whenever a § 2241 habeas petitioner seeks to challenged
 his present physical custody within the United States, he should.. . file the petition in the
 district of confinement); Wofford v. Scott, 177 F.3d 1236, 1239 (11th Cir. 1999). Here,
 Petitioner is currently incarcerated at the Federal Correctional Institution in Fort Worth,
 Texas, which is located within the Northern District of Texas. (See doe. no. 1.) Thus,
 Petitioner's motion seeking relief under § 2241 should have been filed in the Northern
 District of Texas. Additionally, any future actions by Petitioner that seek relief pursuant to
 § 2241, should be filed in the district of his confinement..

         'As stated above in footnote 3, Petitioner should have filed his motion seeking relief
 pursuant to § 2241 in the Northern District of Texas, which is located within the Fifth
 Circuit. However, since Petitioner filed the motion in this Court, and because the
 requirements to invoke the § 2255 savings clause in the Fifth and Eleventh Circuits are
 nearly identical, the Court proceeds to apply Eleventh Circuit law to Petitioner's "Motion for
     Withdrawal of Guilty Plea." Compare Garland v. Roy, 615 F.3d 391, 394 (5th Cir.
 2010), with Darby, 405 F.3d at 945.

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         First, a prisoner may not use the savings clause simply to circumvent the restrictions

 on filing a § 2255 motion. Wofford, 177 F.3d at1245. In other words, "the mere fact that

 relief under § 2255 is procedurally barred is not atone sufficient to make § 2241 an available

 remedy." Bridges v. Vasquez, 151 F. Supp.2d 1353, 1360 (N.D. Fla. 2001). Rather,

         [t]he savings clause only applies to "open a portal" to a § 2241 proceeding
         when (1) the "claim is based upon a retroactively applicable Supreme Court
         decision; (2) the holding of that Supreme Court decision establishes the
         petitioner was convicted for a non-existent offense; and, (3) circuit law
         squarely foreclosed such a claim at the time it otherwise should have been
         raised."

 Darby, 405 F.3d at 945 (quoting Wofford, 177 F.3d at 1244). "To prove an offense is non-

 existent, a petitioner must show he was imprisoned for conduct that was not prohibited." Id.

 citing Sawyer v. Holder, 326 F.3d 1363, 1366 (11th Cir. 2003)). "Once the savings clause

 of 2255 applies to open the portal to a § 2241 proceeding, the proper inquiry in that § 2241

 proceeding will be whether the petitioner can establish actual innocence of the crime for

 which he has been convicted.'" Wofford, 177 F.3d at 1244 n.3.

        Here, Petitioner is not entitled to relief because he has not satisfied the test set forth

 above, all three prongs of which must be met before the savings clause of § 2255 can "open

 the portal" to § 2241 relief In fact, Petitioner has made no allegations in an attempt to meet

 the above requirements. As Petitioner cannot satisfy the three-prong test set forth in

 Wofford, the savings clause does not apply. For this reason, Petitioner's "Motion for.

 Withdrawal of Guilty Plea" should be DISMISSED.

        B.      Petitioner's § 2255 Motion is Barred as Untimely

        Because Petitioner failed to meet the requirements of the savings clause and thus, has
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 not opened the portal" to relief pursuant to § 2241, he must pursue the relief he seeks via

 his § 2255 motion. However, based on an initial review of the petition as required by Rule

 4 of the Rules Governing Section 2255 Proceedings, the Court finds that Petitioner is

 likewise barred from this potential avenue of relief due to his failure to comply with the

 applicable statute of limitations.

         28 U.S.C. § 2255, as amended by the Antiterrorism and Effective Death Penalty Act

 of 1996 ('AEDPA") provides a one-year statute of limitations for § 2255 motions.

 According to the AEDPA, the statute of limitations period shall run from the latest of four

 possible dates:

         1.        the date on which the judgment of conviction becomes final;

         2.        the date on which the impediment to making a motion created by
                   governmental action in violation of the Constitution or laws of the United
                   States is removed, if the movant was prevented from making a motion by
                   such governmental action;

         3.        the date on which the right asserted was initially recognized by the Supreme
                   Court, if that right has been newly recognized by the Supreme Court and
                   made retroactively applicable to cases on collateral review; or

         4.        the date on which the facts supporting the claim or claims presented could
                   have been discovered through the exercise of due diligence.

 28 U.S.C. § 2255(f). As no direct appeal was filed in Petitioner's criminal case, his

 conviction and sentence became final on or about March 1, 2009 , ten days after judgment was

 entered on February 19, 2009. See Fed. R. App. P. 4(b)(1). 5 Assuming Petitioner's AEDPA



          5Pursuant to an amendment that went into effect on December 1, 2009, the time limit
 for filing an appeal was extended from 10 to 14 days following the date judgment was
 entered. See Fed. R. App. P.4, Notes of Advisory Committee on 2009 Amendments. At the
 time of Petitioner's conviction, however, the time limit was 10 days, making that the
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 clock began running on this date, the instant motion, filed more than two years later, is

 untimely.

         Additionally, the Court notes that the Eleventh Circuit has held that the statute of

 limitations in § 2255 may be subject to equitable tolling. Johnson v. United States, 340 F.3d

 1219, 1226 (11th Cir. 2003), affd, 544 U.S. 295 (2005). Equitable tolling can be applied to

 prevent the application of the AEDPA's statutory deadline, if a petitioner can "show '(1) that

 he has been pursuing his rights diligently, and (2) that some extraordinary circumstance stood

 in his way' and prevented timely filing." Lawrence v. Florida, 549 U.S. 327, 336 (2007)

 (quoting Pace v. DiGuglielmo. 544 U.S. 408, 418 (2005)). Nevertheless, equitable tolling is

 typically applied sparingly, Steed v. Head, 219 F.3d 1298, 1300 (11th Cir. 2000), and is

 available "only in truly extraordinary circumstances." Johnson, 340 F.3d at 1226. The

 petitioner bears the burden of proving his entitlement to equitable tolling, Jones v. United

 States, 304 F.3d 1035, 1040 (11th Cir. 2002), and will not prevail based upon a showing of

 either extraordinary circumstances or diligence alone; the petitioner must establish both.

 Arthur v. Allen, 452 F.3d 1234, 1252 (1 lth Cir. 2006) (citing Pace, 544 U.S. at 418-19).

         Here, Petitioner does not make any argument for equitable tolling, and no basis for

 such tolling is apparent upon an examination of the petition or the record. Accordingly, the

 Court concludes that there is no basis for equitably tolling the AEDPA's one-year statute of

 limitations.



 operative rule with respect to determining the timeliness of the instant motion. The four-day
 extension of the time limit enacted by the 2009 amendment does not make any difference in
 this case.

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         Finally, the Court notes that consideration of an otherwise untimely petition for federal

 habeas relief may be appropriate upon a showing that a "fundamental miscarriage ofjustice"

 has occurred, whereby "a constitutional violation has resulted in the conviction of someone

 who is actually innocent." Murray v. Carrier, 477 U.S. 478, 495-96 (1985); see also

 Wyzykowski v. Dep't of Corr., 226 F.3d 1213, 1218-19 (11th Cir. 2000). The actual

 innocence exception "is exceedingly narrow in scope," and a petitioner seeking to invoke it

 must "show that it is more likely than not that no reasonable juror would have convicted him."

 Johnson v. Alabama, 256 F.3d 1156, 1171(1 lthCir. 2001) (quoting Schlupv. Delo, 513 U.S

 298, 327 (1995)). "In addition, 'to be credible, a claim of actual innocence must be based on

 reliable evidence not presented at trial." Id. (quoting Calderon v. Thompson, 523 U.S. 538,

 559 (1998)).

        Here, although Petitioner used the words "actual innocence" in Ground Three of his

 motion, he has not presented any new evidence to suggest that he did not commit the offenses

 with which he was charged such that no reasonable juror would have convicted him. (See

 doc. no. 1, pp. 4-6.) More importantly, Petitioner admitted the facts underlying his conviction

 as part of his plea agreement. CR 308-001, doc. no. 459, pp. 2, 6-8. Therefore, the actual

 innocence exception does not save the instant petition from being time-barred under the

 AEDPA.

        In sum, Petitioner has offered no reason to suggest that the AEDPA statute of

 limitations began to run at any point within the one-year period preceding the filing of his §

 2255 motion. Moreover, Petitioner has not satisfied the requirements for equitable tolling,

 and he has not presented any arguments sufficient to support a claim of actual innocence.

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 Accordingly, the instant motion is time-barred under the AEDPA's one-year statute of

 limitations.

 III. CONCLUSION

         In sum, the Court finds that Petitioner is not entitled to relief pursuant to 28 U.S.C. §

 2 24 1. Additionally, based on an initial review of his § 2255 petition as required by Rule 4 of

 the Rules Governing Section 2255 Proceedings, the Court FINDS that Petitioner's motion is

 time-barred by the applicable one-year statute of limitations. Accordingly, the Court

 REPORTS and RECOMMENDS that Petitioner's "Motion for.. . Withdrawal of Guilty

 Plea" and his § 2255 motion be DISMISSED and that this civil action be CLOSED.

         SO REPORTED and RECOMMENDED thisJay of May, 2011, at Augusta,

 Georgia.



                                                 W. LEO-^ZIB/RFIELD
                                                 UNITED STATES MAGI                TE JUDGE
